              IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI

UNITED STATES OF AMERICA

v.                                               Case No. 18-00293-01-CR-W-DGK

LEEANNA MICHELLE SCHROEDER

                                                                         AUSA: Robert Smith
                                                                 Defense Atty.: Cynthia Dodge

JUDGE:                  Lajuana M. Counts           DATE/TIME:           12/27/2018
                        U. S. Magistrate Judge                           11:08am-11:24am
DEPUTY CLERK            Traci Chorny                TAPE/REPORTER        FTR/tc
INTERPRETER                                         PRETRIAL/PROB:       Jeremy Thomas

                                       Clerk's Minutes
                                    DETENTION HEARING


DETENTION HEARING: Parties appear in person and with counsel ready to proceed on
government's motion for pretrial detention. This hearing was continued from Friday, December
21, 2018.

(x)    Parties stipulate to factual contents of Pretrial Services Report as being the direct
       testimony of Pretrial Services Officer. Ms. Dodge made changes to the report by way of
       proffer.
(x)    Government provides additional evidence to the report regarding the arrest out of Troy
       County, Missouri.
(x)    Arguments presented.
(x)    Defendant makes a proffer.


Based upon the information presented, the Court grants government=s motion to detain and found
reason to believe that no condition or combination of conditions of release would reasonably
assure:

       (x)    The appearance of the defendant or the safety of any other person or persons and
              the community.

       (x)    Defendant ordered detained without bail. Written Detention Order to be
              forthcoming.




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